 Case 06-02229-lmj11         Doc 339 Filed 09/04/08 Entered 09/04/08 16:28:24                  Desc
                                Main Document    Page 1 of 4


                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA

                                                 )
IN RE                                            )    CASE NO. 06-02229-lmj11
                                                 )
DIOCESE OF DAVENPORT                             )    CHAPTER 11
                                                 )
        Debtor                                   )    APPLICATION FOR ORDER REGARDING
                                                 )    TORT CLAIMANTS WHO FILED
                                                 )    BANKRUPTCY

       COMES NOW Wesley B. Huisinga, Renee K. Hanrahan and Bruce P. Kriegman, in their
sole capacities as Chapter 7 Trustees in the cases of certain tort claimants, by and through their
undersigned counsel, and for their Application states as follows:

       1.      Upon information and belief, Wesley B. Huisinga is the duly appointed Trustee
for the individual bankruptcy cases of certain tort claimants in this proceeding. Said tort
claimants have previously filed individual Chapter 7 bankruptcies in either the Northern or
Southern Districts of Iowa.

       2.      Upon information and belief, Renee K. Hanrahan is the duly appointed Trustee
for the individual bankruptcy cases of certain tort claimants in this proceeding. Said tort
claimants have previously filed individual Chapter 7 bankruptcies in the Northern District of
Iowa.

        3.     Upon information and belief, Bruce P. Kriegman is the duly appointed Trustee for
the individual bankruptcy case of a certain tort claimant in this proceeding. Said tort claimant
has previously filed an individual Chapter 7 bankruptcy in the Western District of Washington,
Seattle Division.

        4.      To date, Wesley B. Huisinga, in his capacity as Bankruptcy Trustee, has been
notified by Debtor’s counsel of the identities of at least four individual tort claimants who had
previously filed bankruptcy in either the Northern or Southern Districts of Iowa, for which he
serves as Trustee. The undersigned understands that Debtor’s counsel was directed by this
Court to make this contact so that Trustees would be able to take appropriate action to assume
control of such claims. Wesley B. Huisinga has been further advised that there may be
additional tort claimants, whose identities have not been disclosed, for which he previously
served as Trustee.

       5.      Renee K. Hanrahan has been advised by the U.S. Trustee that there may exist
one or more tort claimants who previously filed bankruptcy proceedings in the Northern District
of Iowa and for which she serves as Trustee. However, no information as to the identity of such
claimants has been provided to her.

         6.     Bruce P. Kriegman has been advised by Debtor’s counsel that there exists one
tort claimant who previously filed a bankruptcy proceeding in the Western District of Washington
and for which he serves as Trustee.
         7.     Due to certain confidentiality requirements that have been imposed against
disclosing the identities of tort claimants to the public, the identities of one or more tort claimants
who have previously filed bankruptcy and, more specifically, information concerning the basis of
 Case 06-02229-lmj11        Doc 339 Filed 09/04/08 Entered 09/04/08 16:28:24                  Desc
                               Main Document    Page 2 of 4


said claims, have not been disclosed to the individuals who served as Trustee for their cases,
including Trustees Huisinga, Hanrahan and Kriegman, for whom this Application is filed.

        8.     With respect to any and all individual tort claimants who have previously filed a
Chapter 7 bankruptcy, all right, title and interest which said tort claimants may have in any
claim, including the right to receive any payment or distribution in satisfaction thereof,
constitutes property of the individual tort claimant’s bankruptcy estate pursuant to 11 U.S.C.
§541(a)(1) and should be turned over to the respective Bankruptcy Trustee of their case
pursuant to 11 U.S.C. §542. See, Lobberecht v Chendrasekhar, 744 NW 2d 104 (Iowa 2008)

       9.    In order to provide for the proper administration of the cases for those tort
claimants who previously filed a bankruptcy proceeding, Trustee’s Huisinga, Hanrahan and
Kriegman request the entry of a Court Order providing for the following relief:

               a.      That the Debtor, their attorneys and agents, including but not limited to,
                       Special Arbitrator Richard M. Calkins, Trustee of the Settlement Trust
                       Robert L. Berger, and/or their attorneys and agents, be directed to
                       immediately disclose to Wesley B. Huisinga, Renee K. Hanrahan and
                       Bruce P. Kriegman, the identities of any tort claimants who have
                       previously filed bankruptcy in a case for which either Wesley B. Huisinga,
                       Renee K. Hanrahan or Bruce P. Kriegman served or serves as Chapter 7
                       Trustee and provide to each Trustee, upon request, a copy of each such
                       tort claimant’s claim setting forth the basis and amount of said claim; and
                       provide each Trustee access to any and all information, sealed or
                       unsealed, that the Debtors would have, including but not limited to, the
                       proof of claims, any amendments thereto, and anything filed in relation to
                       the claim and right to distribution, as well as access to any and all details
                       of the claims processing system.

               b.      Direct that any payment or distribution to a tort claimant identified as
                       having previously filed bankruptcy, and in which either Wesley B.
                       Huisinga, Renee K. Hanrahan or Bruce P. Kriegman previously served as
                       Trustee, shall be paid directly to his or her Bankruptcy Trustee (i.e.
                       Huisinga, Hanrahan or Kriegman, as the case may be) and that payment
                       should be sent directly to the attention of and made payable to the
                       respective Bankruptcy Trustee; and

               c.      Order and decree that the final disposition of any payment to be received
                       by any tort claimant who previously filed a bankruptcy proceeding, shall
                       be determined upon proceedings to be commenced in the individual
                       bankruptcy proceeding of each such tort claimant.

        10.     Entry of an Order, as requested in paragraph 9 above, would be in the best
interest of the creditors of the individual tort claimants at issue, in that it would preserve for the
benefit of said creditors their right to receive a distribution from the liquidation of the assets of
each individual Debtor’s estate, would allow through the claims process a determination of the
amount of claims in each such tort claimant/Debtor’s estate, and a distribution of the proceeds
thereof in accordance with the distribution and priority provisions of Title 11.

      WHEREFORE, for the reasons herein stated, Trustees Wesley B. Huisinga, Renee K.
Hanrahan and Bruce P. Kriegman pray that the Court enter an Order granting the relief
 Case 06-02229-lmj11       Doc 339 Filed 09/04/08 Entered 09/04/08 16:28:24                Desc
                              Main Document    Page 3 of 4


requested herein and for such other and further Orders as may be just and appropriate under
the circumstances.



                                             /s/ Wesley B. Huisinga
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                                             RENEE K. HANRAHAN, Chapter 7 Trustee
                                             BRUCE P. KRIEGMAN, Chapter 7 Trustee




                                 CERTIFICATION OF SERVICE

         The undersigned hereby certifies under penalty of perjury, that a copy of his document
was served electronically on parties who receive electronic notice through CM/ECF as listed on
CM/ECF’s notice of electronic filing and by first class mail on the 4th day of September, 2008 on
the following:


                                             /s/ Cameo Kruse
                                             Cameo Kruse


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 Case 06-02229-lmj11      Doc 339 Filed 09/04/08 Entered 09/04/08 16:28:24   Desc
                             Main Document    Page 4 of 4


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